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IN THE UNITED sTATEs DISTRICT coURT FHJED ar _“_M D(.
FoR THE wEsTERN DISTRICT oF TENNESSEE '*
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chi.r';n:»_;,* u.:=, ‘Q:YOY:¥J
.c). or n\t, versus
AUSTIN B. JOHNSON and 1

BRANDON D. JOHNSON,
Plaintiffs,
vs. No. 05-2162-Ma/V

JO ANNE B. BARNHART,
COMMISSIONER OF SOCIAL SECURITY,

Defendants.

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ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
NOTICE OF APPELLATE FILING FEE
AND
ORDER IMPOSING RESTRICTIONS ON PLAINTIFFS' FILING PRIVILEGES

 

Plaintiffs Austin B. Johnson (“Austin” or “Johnson”) and
Brandon D. Johnson (“Brandon”) filed a pro §§ complaint on March l,
2005 that purported to invoke the Court’s jurisdiction pursuant to
42 U.S.C. § 405(g). Plaintiffs paid the civil filing fee. The Clerk
shall record the defendant as Jo Anne B. Barnhart, Commissioner of
Social Security.

This is the fourth action Austin has filed and the third
filed by Brandon seeking to overturn an adverse decision of the
Social Security Administration (“SSA”) as to Austin. The complaint
alleges that Brandon is Austin's son “and a legal beneficiary at
the time of the onset.” Compl., IZ. On October 19, 1999, Austin
filed a complaint seeking review of a decision of the Commissioner
of Social Security denying him an award of disability benefits.

T:tis document entered on the docket sheet in compllance
with Ru!e 58 and/or TQ(a) FHCP on ' '

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Austin had filed an application with the SSA on May 22, 1997",
alleging he suffered from a disability with an onset date of June
l, 1994. District Judge Julia Smith Gibbons referred the case to
Magistrate Judge J. Daniel Breen for report and recommendation. On
September 28, 2000, Judge Breen recommended that Austin’s appeal be
denied and the decision of the Commissioner be affirmed. Austin
objected to that recommendation. On October 28, 2000, Judge Gibbons
entered an order adopting Judge Breen’s report and recommendation
and affirming the decision of the Commissioner. Johnson v. Apfel,
No. 99-2925-G/Bre (W.D. Tenn.). Austin did not appeal.

On April 23, 2003, Austin and Brandon filed a form
complaint for violations of civil rights under 42 U.S.C. § 1983.1
Austin alleged he was granted disability benefits on February 2,
2000, after filing a subsequent claim, and his disability onset
date was determined to be May 9, 1999. He alleged in conclusory
fashion that the Commissioner “violated his civil rights,”
“violated provisions of the Social Security Act,” “did not prove
his findings at step three in the sequential evaluation process in
the initial claim,” “did not meet his burden at step five in the
sequential evaluation process in the initial claim,” and made his
decision “in bad faith.” Johnson alleged he was entitled to
disability and disability insurance benefits for a period prior to
May 9, 1999 because he was disabled as of June l, 1994. Johnson et

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al. v. Apfel, No. 03-2281-Ml/V (W.D. Tenn.).

 

1 The complaint failed to allege who Brandon was or his connection to

the case and,r therefore, the claims on his behalf were dismissed as frivolous.

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In an order issued on May 6, 2003, District Judge Jon
Phipps McCalla held that the plaintiff had no claim for damages
against the SSA under 42 U.S.C. § 1983, which provides a remedy for
deprivations of civil rights by state officials, not federal
agencies or employeesr and no claim under Bivens v. Six Unknown
Fed. A ents, 403 U.S. 388 (1971), due to the comprehensive remedial
scheme established by Congress in enacting the Social Security Act.
The Court also held that any claims against the United States or
its officers or agencies for damages are barred by sovereign
immunity because no waiver has been expressed for suits seeking
damages against the SSA or its employees where a disability
claimant is dissatisfied with the decision of the agency.

The Court also held that, to the extent Austin sought to
relitigate the Commissioner's denial of disability benefits from
his application filed on May 22, 1997, his claims are fully within
the scope of Johnson v. Apfel, No. 99-2925-G/Bre, and are barred by
both res judicata and collateral estoppel. §§§ C. Wright, Law of

Federal Courts § lOOA, at 680, 682 (1983). “A final judgment on the

 

merits of an action precludes the parties or their privies from
relitigating issues that were or could have been raised in that
action.” Federated Dep’t Stores v. Moitie, 452 U.S. 394, 398
(1981). Neither plaintiff filed a notice of appeal in case no. 03-
2281-Ml/V.

Plaintiffs filed Austin's third complaint and Brandon’s
second on April 23, 2003. Johnson, et al. v. Barnhart, No. 03-2661-
Ml/V (W.D. Tenn.). That complaint alleged that Austin had been

granted disability benefits after he filed a subsequent claim.

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Although the previous lawsuit alleged that the determination was
made on February 2, 2000, the complaint in case no. 03-2661 alleged
that benefits were awarded on January 18, 2000 and January 29,
2000. Plaintiffs alleged that the decision to award benefits on the
subsequent application constitutes a reopening of the initial claim
filed on April 22, 1997. Austin admitted that he had not exhausted
his administrative remedies on the subsequent decision of the
Commissioner before filing a lawsuit. Instead, plaintiffs alleged
that their claims were constitutional and collateral to the claim
for benefits, therefore excusing the failure to exhaust
administrative remedies. Plaintiffs contended that the finding of
the Commissioner in the subsequent decision that Austin became
disabled on May 9, 1999, was not based on substantial evidence.
Plaintiffs also alleged bad faith and due process violations during
the initial 1997 claim processing and determination. Plaintiffs
sought a reversal of the decision that Austin had become disabled
on May 9, 1999, a determination that he had become disabled on June
1, 1994, and an award of benefits to Austin for the period from
June 1, 1994 until November l, 2001. They also sought a finding of
irreparable harm caused by the denial of Medicare benefits from
February 2, 1998 until November l, 2001.

On September 29, 2003, Judge McCalla issued an order
dismissing the complaint. The Court held that plaintiff’s claims of
bad faith and due process violations asserted against the
Commissioner in her official capacity were, in effect, asserted
against the SSA. Those claims were addressed in case no. 03-2281-

Ml/V (W.D. Tenn.), and were barred by res judicata and collateral

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estoppel. Likewise, the alleged constitutional violations occurring
during the initial review and determination process were or could
have been presented in case no. 99-2925~G/Bre and are barred by res
judicata. Plaintiffs were barred from pursuing an appeal of the
second determination, where Austin had been awarded disability
dates but with a later onset date than he had sought, due to his
failure to exhaust his administrative remedies and the sixty~day
limitations period contained in 42 U.S.C. § 405(g).

Plaintiffs appealed the dismissal order in case no. 03-
2661, and the Sixth Circuit affirmed, stating as follows:

The district court's jurisdiction. to review the
denial of social security benefits lies under § 405(g).
See Willis v. Sullivan, 931 F.2d 390, 396 (6th Cir.
1991). In order to obtain judicial review, an initial
determination on a clainl must first be made by the
Commissioner. Following the initial determination, a
dissatisfied claimant may seek reconsideration. See 20
C.F.R. §§ 404.933, 404.936, 404.955. After the ALJ has
issued a decision, further review may be sought before
the Appeals Council. Only after the Appeals Council has
issued a decision is there a “final decision” by the
Commissioner within the meaning of § 405(g). Once a final
decision has been made, the claimant may then file an
action to review the Commissioner's decision before the
appropriate federal district court. See Willis, 931 F.2d
at 396.

JThe Johnsons concede that they have not exhausted
their administrative remedies with respect to the
determination of a May 9, 1999, onset date. As there has
been no final decision by the Commissioner, the district
court lacked jurisdiction under § 405(g) to review that
determination. See id; We are not persuaded by the
Johnsons' attempt to characterize their claim as
constitutional. The gist of the claim is simply that the
Commissioner made an unsupported factual determination.
In any event, the district court considered and rejected
the Johnson' constitution-based claims when it dismissed
the complaint filed on April 23, 2002 [sic] [in case no.
03-2281-Ml/V (W.D. Tenn.)}. That decision, which was not
appealed, has preclusive effect.

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Johnson v. Commissioner of Social Securitv, 97 Fed. Appx. 526, 527-
28 (6th Cir. Apr. 23, 2004).

The plaintiffs' most recent complaint, which was filed on
March l, 2005, is fifty (50) pages long and almost
incomprehensible. Plaintiffs apparently seek to invoke the Court’s
jurisdiction under 42 U.S.C. § 405(g), the Federal Tort Claims Act
{“FTCA”), 28 U.S.C. § 2671 et segé, and 42 U.S.C. § 1983.
Plaintiffs seek to relitigate the Commissioner's decision that
Austin became disabled on May 9, 1999 and to establish a disability
onset date of June 1r 1994. Plaintiffs explain their filing of yet
another lawsuit by claiming that “the Courts did not seenl to
understand the nature of the case,” Compl., p. 49, and they did not
have a full and fair opportunity to litigate their previous cases,
L, P- 5-

According to the Sixth Circuit, “a district court may not
sua sponte dismiss a complaint where the filing fee has been paid
unless the court gives the plaintiff the opportunity to amend the
complaint.” Apple v. Glenn, 183 F.3d 477, 478 (6th Cir. 1999) (per
curiam); see also Benson v. O’Brian, 179 F.3d 1014 (6th Cir. 1999);
Tingler v. Marshall, 716 F.2d 1109, 1112 (6th Cir. 1983). There is
an exception to this general rule, however, that permits a district
court to dismiss a complaint “for lack of subject matter
jurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of
Civil Procedure when the allegations of a complaint are totally
implausible, attenuated, unsubstantial, frivolous, devoid of merit,
or no longer open to discussion.” Appl§, 183 F.3d at 478 (citing

Hagans v. Lavine, 415 U.S. 528, 536-37 (1974)). Applying these

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standards, plaintiffs’ complaint is subject to dismissal in its
entirety.

The Sixth Circuit held in Johnson v. Commissioner of
Social Security, 97 Fed. Appx. at 528, that this Court lacks
jurisdiction under 42 U.S.C. § 405(g) to review the disability
onset determination of May 9, 1999. The complaint does not set
forth any facts indicating the plaintiffs have taken any additional
steps to exhaust that claim, and any attempts to exhaust their
claim would appear to be barred by the sixty-day limitations period
contained in § 405(g).

Moreover, the claims presented in this action, to the
extent they are decipherable, appear to be identical to those
raised in case no. 03-2661~Ml/V (W.D. Tenn.), and its predecessors,
case nos.99-2925~G/Bre (W.D. Tenn.), and 03-2281-Ml/V (W.D. Tenn.).
As such, each and every one of plaintiffs’ claims is barred by res
judicata and collateral estoppel for the reasons stated in case
nos. 03-2281-Ml/V and 03-2661-Ml/V (W.D. Tenn.), and in the Sixth
Circuit’s decision in Johnson v. Commissioner of Social Securitv.
Plaintiffs cannot avoid this bar by asserting new legal theories in
support of their challenge to the denial of disability benefits.
The doctrine of res judicata operates to bar any claim that the
plaintiffs could have asserted in the previous lawsuits. Allen v.
McCurry, 449 U.S. 90, 94 (1980) (“Under res judicata, a final
judgment on the merits of an action precludes the parties or their
privies from relitigating issues that were or could have been
raised in that action.”); Sanders Confectionerv Prods., Inc. v.

Heller Fin.. Inc., 973 F.2d 474, 480 (6th Cir. 1992).

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Although the plaintiffs assert, without elaboration, that
they did not have a full and fair opportunity to litigate the three
previous cases, the Sixth Circuit has, on numerous occasions,
rejected similar arguments made by plaintiffs seeking to avoid
application of res judicata, reasoning that any argument the
plaintiff may have about procedural decisions made in the original
lawsuit should have been made in that case, either at the district
court level or on appeal. See. e.g., Oualitv Measurement Co. v.
IPSOS S.A., 56 Fed. Appx. 639, 634 (6th Cir. Jan. 8, 2003) (“RSC is
essentially arguing that it should get a new trial simply because
the first one was not fair. . . . The purpose of res judicata is to
preclude exactly this sort of case; parties cannot relitigate an
issue or claim simply because they believe the court or jury
reached an incorrect result in the first case. The law provides
finality to the parties by insisting they raise complaints about
litigation while the case is pending. RSC should have raised the
issue of unfairness in the first action, and it may not do so
now.”); Watts v. Federal Express Corp., 53 Fed. Appx. 333 (6th Cir.
Dec. 13, 2002), cert. denied, 540 U.S. 1006 (2003); Rainey Bros.
Constr. Co. v. Memphis & Shelbv Countv Bd. of Adjustment, No. 97-
5897, 1999 WL 220128 (6th Cir. Apr. 5, 1999) (per curiam); Perry v.
Croucher, No. 97-3033, 1998 WL 66151, at *4 (6th Cir. Aug. 31,
1998).

Accordingly, the Court DISMISSES the complaint, in its
entirety, for lack of subject-matter jurisdiction pursuant to Fed.

R. Civ. P. 12(b)(1) and (h)(3) and Apple v. Glenn.

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The Court must also consider whether plaintiffs should be
allowed to appeal this decision re rerme,pauperis, should they seek
to do so. Pursuant to the Federal Rules of Appellate Procedure, a
non-prisoner desiring to proceed on appeal re feres pauperis must
obtain pauper status under Fed. R. App. P. 24(a). §ee Callihan v.

Schneider, 178 F.3d 800, 803"04 (6th Cir. 1999). Rule 24(a)

 

provides that if a party seeks pauper status on appeal, he must
first file a motion in the district court, along with a supporting
affidavit. Fed. R. App. P. 24(a)(l). However, Rule 24(a) also
provides that if the district court certifies that an appeal would
not be taken in good faith, or otherwise denies leave to appeal rp
ferme_pauperis, the plaintiffs must file their motion to proceed re
rerme pauperis in the Court of Appeals. Fed. R. App. P. 24(a)(4)-
(5).

The good faith standard is an objective one. Coppedge v.

United States, 369 U.S. 438, 445 (1962). An appeal is not taken in

 

good faith if the issue presented is frivolous. lee lt would be
inconsistent for a district court to determine that a complaint
does not warrant service on the defendant, yet has sufficient merit
to support an appeal re rerme pauperis. §ee Williams v. Kullman,
722 F.2d 1048, 1050 n.1 (2d Cir. 1983). The same considerations
that lead the Court to dismiss the complaint for lack of subject-
matter jurisdiction also compel the conclusion that an appeal would
not be taken in good faith.

It is therefore CERTIFIED, pursuant to Fed. R. App. P.
24(a), that any appeal in this matter by the plaintiffs is not

taken in good faith. Leave to proceed on appeal re forma pauperis

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is, therefore, DENIED. Accordingly, if plaintiffs file a notice of
appeal, they must pay the $255 appellate filing fee in full or file
a motion to proceed re forma pauperis in the United States Court of
Appeals for the Sixth Circuit within thirty (30) days.
Furthermore, plaintiffs' conduct in bringing this action,

which is virtually identical to the two actions filed in 2003 and
similar to the action filed in 1999, demonstrates a marked
propensity to abuse the judicial system in an attempt to harass the
defendant as well as the Court. See Filipas v. Lemons, 835 F.2d
1145 (6th Cir. 1987). This Court has the obligation and authority
to prevent this type of abuse.

Federal courts have both the inherent power and the

constitutional obligation to protect their jurisdiction

from conduct which impairs their ability to carry out

Article 111 functions. If such power did not exist, or if

its exercise were somehow dependent upon the actions of

another branch of government or upon the entitlement of

a private party to injunctive relief, the independence

and constitutional role of Article 111 courts would be

endangered.

1n re Martin-Trigona, 737 F.2d 1254, 1261 (2d Cir. 1984); see also

Winslow v. Romer, 759 F. Supp. 670, 677-78 (D. Colo. 1991); Kersh

 

v. Borden Chemical, Div. of Borden, Inc., 689 F. Supp. 1442, 1452-
53 (E.D. Mich. 1988). The Sixth Circuit and other appellate courts
have endorsed the enjoining of prolific frivolous filers. §ee
Filipasr supra; Cotner v. Hopkins, 795 F.2d 900 (10th Cir. 1986);
Procup v. Strickland, 792 F.2d 1069 (11th Cir. 1986); see also Qey
v. Allstate Ins. Co., 788 F.Zd 1110 (5th Cir. 1986); Franklin v.

Murphy, 745 F.Zd 1221, 1232 (9th Cir. 1984); In re Green, 215 U.S.

 

App. D.C. 393, 669 F.2d 779 (D.C. Cir. 1981)(per curiam); Green v.

Warden, 699 F.2d 364 (7th Cir. 1980); Green v. White, 616 F.Zd

 

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1054, 1056 (8th Cir. 1980) (per curiam); Gordon v. Department of
Justice, 558 F.2d 618 (lst Cir. 1977); Gambocz v. Yelencsics, 468
F.2d 837 (3d Cir. 1972). The Court must take care not to impose
restrictions that would preclude the party from all access to the
courts. Safir v. United States Lines, Inc., 792 F.2d 19, 24 (2d

Cir. 1986); Sires V. Gabriel, 748 F.Zd 49, 51 (lst Cir. 1984}.

 

The Court has considered measures to prevent plaintiffs
from continuing to abuse the judicial system by repeatedly
attempting to litigate the same or similar meritless claims,
without also completely precluding their access to the courts. §eer
erer, Sickle v. Hollowav, 791 F.Zd 1431, 1437 (10th Cir. 1986)
(limited filing restrictions prevent relitigation of frivolous
allegations but do not totally preclude access); see also Lyons v.
Randall, 834 F.2d 493, 496 (5th Cir. 1987) (sanctions imposed for
third filing of frivolous lawsuit and for suing federal judge
protected by absolute judicial immunity).

Accordingly, this Court ORDERS that plaintiffs shall file
no further documents in this case, other than a one-page notice of
appeal, and shall not file any other case in which they seek to
relitigate any issue concerning, or related to, Johnson’s May 22,
1997 application for social security disability benefits, which was
denied, and his subsequent application for social security
disability benefits, which culminated in the SSA's finding that
Austin was disabled with a disability onset date of May 9, 1999.
The Clerk is ORDERED not to file or otherwise accept any other
documents presented by plaintiffs in this action or any new action

which attempts to relitigate these matters unless specifically

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directed to do so by a district judge or magistrate judge of this
district. Any further documents in this case or any other documents
attempting to relitigate these matters shall be returned to
plaintiffs.

Should plaintiffs violate this order, the Court will
impose further sanctions against them, including a monetary fine.
Any case submitted by plaintiffs to another court that is
thereafter removed or transferred to this district will result in
the same sanctions as if it had been filed here initially.

IT Is so oRDERED this /!K day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UN1TED STATES D1ST1CT oURT - WESTE D1SCTR1T oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02162 Was distributed by fax, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

